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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                  Criminal No.: 21-cr-00552 (DLF)

 -v-                                              DEFENDANT THOMAS’S CONSENT
                                                  MOTION FOR EXTENSION OF TIME TO
 KENNETH JOSEPH OWEN THOMAS,                      FILE PRETRIAL MOTIONS

                    Defendant.



       Defendant Kenneth Joseph Owen Thomas, with the United States’ consent, hereby moves

for a extension of time for Defendant Kenneth Joseph Owen Thomas to file his pretrial motions.

The current reply deadline is February 2, 2023.

   1. Counsel for Defendant Kenneth Joseph Owen Thomas is currently preparing various

       pretrial motions. However, Counsel only just received various video discovery, and

       therefore requires additional time to review these videos to determine appropriate actions

       to take. Defendant Thomas therefore seeks a revised motions schedule to file any

       pretrial motions.

   2. United States has proposed the following revised motions schedule.
   -   Motion deadline:       Feb. 16
   -   Response deadline:     March 2
   -   Replies deadline:      March 9


   WHEREFORE, Defendant Kenneth Joseph Owen Thomas respectfully requests that the

Court revise and extend the current pretrial motions schedule. The United States consents to this

request.



Date: February 2, 2023                       Respectfully Submitted,
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                           /s/ John M. Pierce

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                           Attorney for Defendant
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                                        CERTIFICATE OF SERVICE
I, John M. Pierce, hereby certify that on this day, February 02, 2023, I caused a copy of the foregoing
document to be served on all counsel through the Court’s CM/ECF case filing system.
                                                 /s/ John M. Pierce
                                                 John M. Pierce
